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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 DC CENTER FOR INDEPENDENT
 LIVING, et al.,

          Plaintiffs,

          v.                                         Civil Action No. 1:22-cv-03541-JMC

 DISTRICT OF COLUMBIA, et al.,

          Defendants.


                        DEFENDANTS’ PROPOSED SCHEDULING ORDER

         Upon consideration of the Parties’ Joint Report, and the entire record, it is ORDERED

that the Parties adhere to the following schedule:

 Event                                                             Deadline

 Initial Disclosures                                               May 23, 2024

 Deadline for Joinder and Amendment of Pleadings                   October 25, 2024

 Close of Fact Discovery                                           January 29, 2025

 Exchange of Initial Expert Reports                                March 28, 2025

 Exchange of Rebuttal Expert Reports                               May 9, 2025

 Close of Expert Discovery                                         June 13, 2025

 Deadline for Plaintiffs’ Motion for Summary Judgment              July 18, 2025

 Deadline for Defendants’ Opposition to Plaintiffs’ Motion for August 15, 2025
 Summary Judgment and Cross-Motion for Summary Judgment
 Deadline for Plaintiffs’ Opposition to Defendants’ Cross-     September 12, 2025
 Motion and Reply in Support of Motion for Summary Judgment
 Deadline for Defendants’ Reply in Support of Motions for      September 26, 2025
 Summary Judgment
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Dated:
                                            JIA M. COBB
                                            United States District Judge




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